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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

*************************************
William Soler Justice,              *
                                    *
               Plaintiff,           *
       v.                           *                 Civil No. 1:20-cv-00517-PB
                                    *
Christopher T. Sununu, et al.,      *
                                    *
               Defendants.          *
                                    *
*************************************

           JONATHAN BOISSELLE’S ANSWER TO AMENDED COMPLAINT

       Defendant Jonathan Boisselle, by and through his counsel, the New Hampshire Office of

the Attorney General, answers and responds as follows to Plaintiff William Soler Justice’s

Amended Complaint (ECF No. 131).

                                   ADMISSIONS & DENIALS

       Defendant generally denies the allegations Plaintiff sets forth in his Amended Complaint.

See Fed. R. Civ. P. 8(b)(3). As such, any allegation not expressly admitted herein is denied.

Where Defendant lacks knowledge or information sufficient to form a belief about an allegation,

Defendant so responds. See Fed. R. Civ. P. 8(b)(5). As to any claims raised against defendants

other than Boisselle, Defendant lacks knowledge or information sufficient to form a belief about

Plaintiff’s allegations and to the extent a response is required, those claims are denied.

       As to specific facts within Plaintiff’s Amended Complaint, Defendant responds as

follows:

       ¶7: Admitted.

       ¶52: Admitted that PPO Boisselle secured Plaintiffs right leg by utilizing pain

       compliance with PPO’s right leg shin on the back of patient’s lower calf/ankle; admitted
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       that PPO Boisselle attempted to deploy pepper spray into Plaintiff’s cell on July 13, 2018

       (denied that the pepper spray reached Plaintiff). Denied that Plaintiff showed no signs of

       assaultive, violent, or aggressive behavior and denied as to any remaining allegations in

       sentence 2. Admitted that PPO Boisselle filmed part of the incident; denied that the

       incident can be described as “excessive force” and denied as to any remaining allegations

       in sentence 3.

       ¶73: Denied.

       As to the remaining paragraphs and factual assertions not previously addressed above,

Defendant is without sufficient information to admit or deny and therefore denies.

                                   AFFIRMATIVE DEFENSES

       In asserting the following affirmative defenses to Plaintiff’s claims, Defendant does not

concede that the assertion of such defenses imposes any burden of proof on Defendant with

respect thereto.

       1.      First Affirmative Defense: Plaintiff failed to file this Amended Complaint

against Defendant within the statute of limitations; and Plaintiff’s claims to not relate back to the

filing of the initial Complaint.

       2.      Second Affirmative Defense: Plaintiff’s claims for monetary damages,

including but not limited to mental or emotional injury and punitive damages, are barred by 42

U.S.C. § 1997(e)(e) [Prison Litigation Reform Act].

       3.      Third Affirmative Defense: The Plaintiff has not suffered any damages, as the

damages alleged preceded any of the alleged accrual of claims brought by Plaintiff.

       4.      Fourth Affirmative Defense: Defendant has not violated Plaintiff’s federal

constitutional right to receive adequate medical care.




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       5.       Fifth Affirmative Defense: Defendant has not violated Plaintiff’s Eighth or

Fourteenth Amendment rights.

       6.       Sixth Affirmative Defense: Defendant has not violated professional standards of

medical care.

       7.       Seventh Affirmative Defense: The Plaintiff’s claims are barred and/or reduced

by assumption of risk, and contributory and/or comparative fault.

       8.       Eighth Affirmative Defense: Defendant is not a medical professional nor does

he supervise medical professionals in making medical decisions.

       9.       Ninth Affirmative Defense: Defendant is entitled to assert all applicable

immunities to Plaintiff’s claims against them, including but not limited to Eleventh Amendment

immunity, sovereign immunity, qualified immunity, official immunity, and discretionary

function immunity.

       10.      Tenth Affirmative Defense: Plaintiff has failed to state a claim upon which

relief may be granted.

                                 RESERVATION OF RIGHTS

       1.       Defendant presently has insufficient knowledge or information upon which to

form a belief as to whether he may have other, as yet unstated, defenses or affirmative defenses.

Defendant reserves the right to assert any additional defenses or affirmative defenses that

discovery indicates may be appropriate. Defendant likewise reserves the right to amend or to

seek to amend this answer or the defenses asserted herein.



       WHEREFORE, Defendant respectfully requests that this Honorable Court:

       A. Enter judgment in favor of Defendant;




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       B. Dismiss the operative complaint;

       C. Grant such other and further relied as justice may require.

                                              Respectfully submitted,

                                              JONATHAN BOISSELLE

                                              By his attorney,

                                              THE OFFICE OF THE ATTORNEY GENERAL

Dated: April 29, 2025                         /s/ Catherine A. Denny
                                              Catherine A. Denny, Bar #275344
                                              Assistant Attorney General
                                              Civil Bureau
                                              NH Department of Justice
                                              1 Granite Place South
                                              Concord, NH 03301
                                              catherine.a.denny@doj.nh.gov
                                              (603) 271-1354



                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing is being conventionally mailed to the
Plaintiff at 51 Storrs St., #310, Concord, NH 03301



Dated: April 29, 2025                         /s/ Catherine A. Denny
                                              Catherine A. Denny




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